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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-20398-CR-RUIZ


   UNITED STATES OF AMERICA

   v.

   ALEJANDRO THERMIOTIS,

                  Defendant.


                           PRELIMINARY ORDER OF FORFEITURE

         THIS MATTER is before the Court upon the United States of America’s Unopposed

  Motion for Preliminary Order of Forfeiture, [ECF No. 111] (“Motion”) against Defendant

  ALEJANDRO THERMIOTIS. The Court has carefully considered the Motion, the record, is

  otherwise fully advised, and finds as follows:

         On or around September 12, 2024, a federal grand jury returned an Indictment charging

  the Defendant in Count 1 with conspiracy to commit securities fraud in violation of Title 18, United

  States Code, Section 371, in Counts 2-13 with securities fraud in violation of Title 18, United

  States Code, Section 1348, and in Counts 14-25 with securities fraud in violation of Title 15,

  United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations, Sections

  240.10b-5, 240.10b-5-l, & 240.10b-5-2. Indictment, [ECF No. 3]. The Indictment also contained

  forfeiture allegations, which alleged, as relevant here, that, upon conviction of a violation of Title

  18, United States Code, Section 371, specifically a conspiracy to commit securities fraud, the

  Defendant shall forfeit to the United States any property, real or personal, which constitutes or is

  derived from proceeds traceable to such offense, pursuant to Title 18, United States Code, Section

  981(a)(l)(C). See id. at 27-29.

         On December 17, 2024, the Court accepted the Defendant’s guilty plea to Count 1 of the

  Indictment. See Minute Entry, [ECF No. 62]; Plea Agreement ¶ 1, [ECF No. 63]. As part of the
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  guilty plea, the Defendant agreed to the entry of a forfeiture money judgment in the amount of

  $931,820.55 in U.S. Currency. See Plea Agreement ¶ 14, [ECF No. 63].

         In support of the guilty plea, the Defendant executed a Factual Proffer, and the Court found

  that there was a factual basis to support the Defendant’s conviction. See Factual Proffer, [ECF

  No. 58]. The Factual Proffer also provided a basis for the forfeiture of property. See id. at 3-8, 9.

         As of June 2022, co-defendant Federico Nannini maintained an ongoing and close

  friendship with the Defendant, an aspiring securities trader, and they often discussed securities

  trading. Factual Proffer, [ECF No. 64] at 2.

         In approximately June 2022, co-defendant Federico Nannini, who was then employed at

  Global Consulting Firm 1, was assigned to assist with the proposed corporate acquisition of

  Infrastructure and Energy Alternative Inc. (“IEA”) by MasTec Inc.(“MasTec”), Global Consulting

  Firm 1’s client (the “Proposed Acquisition”). Id. at 2. As relevant here, on or around June 25,

  2022, co-defendant Federico Nannini tipped the Defendant about MasTec’s proposed acquisition

  of IEA, knowing that the Defendant would trade on this information. Id. Ultimately, in total, the

  Defendant purchased 200,000 shares of IEA stock for approximately $1,777,800.50 over the

  course of June 15 and 16, 2022. Id. at 4. The Defendant also tipped a family member and co-

  defendant Francisco Tonarely about the IEA acquisition, knowing that they would trade on the

  information. See id. at 4–6. In addition, the Defendant met with a second family member

  (“Thermiotis Family Member 2”) at Thermiotis Family Member 2’s home, and, within 15 minutes

  of the start of their meeting, Thermiotis Family Member 2 logged into his/her Robinhood account

  and purchased 1,592 shares of IEA for approximately $13,397. See id. at 5.

         On July 7, 2022, co-defendant Federico Nannini accessed multiple files regarding the

  Proposed Acquisition, and he exchanged a series of texts with the Defendant about the odds of the

  Proposed Acquisition going through, notably one that it was “60/40 no go.” See id. at 4–6.



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          Subsequently, on July 14, 2022, co-defendant Federico Nannini received an e-mail from a

  colleague at Global Consulting Firm 1, instructing him to “Focus on [the Proposed Acquisition]

  so we can push it close to the finish by end of day today.” Id. at 7. Co-defendant Federico Nannini

  then accessed several acquisition files, including one labeled, “[Proposed Acquisition] – Report

  Databook,” which was a complete analysis of the acquisition, indicating to co-defendant Federico

  Nannini that the acquisition was going through. Id. Approximately two minutes after co-

  defendant Federico Nannini accessed this document, he and the Defendant exchanged text

  messages wherein co-defendant Federico Nannini relayed to the Defendant that the Proposed

  Acquisition was going through, and the Defendant advised him not to text but call later. See id. at

  7–8.

          On July 25, 2022, Bloomberg reported that MasTec was acquiring IEA for $14.00 per

  share, and IEA’s share price rose by approximately 32%. Id. at 9. The Defendant sold his entire

  IEA position, which he purchased based on material non-public information he received from co-

  defendant Federico Nannini. Id. The Defendant made approximately $924,183 in profits, which

  represents his net proceeds from the conspiracy. Id. Thermiotis Family Member 2 also sold his/her

  entire IEA position, and s/he made approximately $7,920 in profits. Id.

          Based on the record in this case, the total value of the proceeds traceable to Count 1 is

  $931,820.55 1 in U.S. Currency, which sum may be sought as a forfeiture money judgment pursuant

  to Rule 32.2 of the Federal Rules of Criminal Procedure.

          Accordingly, based on the foregoing, the evidence in the record, and for good cause shown,

  the Motion is GRANTED, and it is hereby ORDERED AND ADJUDGED as follows:



  1
    This sum reflects the forfeiture money judgment sum, as agreed to in the Plea Agreement, [ECF No. 63].
  Ultimately, the Defendant is held responsible for the Defendant’s net proceeds and Thermiotis Family
  Member 2’s net proceeds from the conspiracy. The forfeiture money judgment sum is approximately
  $282.45 less than the combination of net proceeds figures as reflected in the Factual Proffer, [ECF No. 64],
  specifically the sum of $924,183 plus $7,920, which were estimated.

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          1.      Pursuant to 18 U.S.C. § 982(a)(1)(C), 21 U.S.C. § 853, and Rule 32.2 of the Federal

  Rules of Criminal Procedure, a forfeiture money judgment in the amount of $931,820.55 is hereby

  entered against the Defendant.

          2.      The United States is authorized to conduct any discovery that might be necessary

  to identify, locate, or dispose of forfeited property, and to resolve any third-party petition, pursuant

  to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

          3.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

  is final as to the Defendant.

          4.      The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure, shall amend

  this Order, or enter other orders as necessary, to forfeit additional specific property when

  identified.

          DONE AND ORDERED in Miami, Florida, this 28th day of March 2025.



                                                          __________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE




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